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HiQW~S-M.-GOLAD
CLEFK U.S\ USTR|CT COURT
VERONICA M. AKINES, et al., WR) 05 i`i"l, ."»‘.EMPHIS
Plaintiffs,
vs. No: 02-2483 M/Bre ‘/
JURY TRIAL DEMANDED

SHELBY COUNTY, et al.,

Defendants.

 

CHAKA C. WATSON, et al.,
Plaintiffs,

vs. No: 02-2691 Ma/Bre
JURY TRIAL DEMANDED

SHELBY COUNTY, et al.,

Defendants.

 

DISTRICT COURT’S ORDER ON DEFENDANT’S
OBJECTION TO MAGISTRATE JUDGE’S
REPORT AND RECOMMENDATION

 

Before the Court counsel for both parties appeared on August 18,
2005, on objection of Defendant to Magistrate Judge’s Report and
Recornmendation, and response of Plaintiffs’ to Defendant’s objection,
and upon said objection, the response thereto, and after full hearing, the

Court, considering the arguments of counsel, and the entire record, finds

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that the Magistrate Judge’s ruling is substantially correct and is herby
affirmed However, the Magistrate Judge did not include deadlines for
extension, Which are hereby set as follows:

1. Deadline for all discovery, including fact Witnesses -
September 30, 2005.

2. Deadline for Plaintiffs to file their expert report - September
30, 2005. 1

3. Defendant shall have 45 days thereafter to take the
deposition of Plaintiffs’ expert, until - November 15, 2005.

4. Defendant may designate an expert; the deadline for same
shall be - December 31, 2005.

5. Defendant’s expert Witness report shall be due within 30
days, or - January 31, 2006.

6. Plaintiff shall have 30 days thereafter to depose Defendant’s
expert Witness or until - February 28, 2006.

7 . The dispositive motion deadline shall be reset to - April 15,
2006.

8. Plaintiffs shall have 30 days thereafter to respond, or until -

May 15, 2006.

 

1 Plaintiffs’ attorney has represented to the Court that she has only
one expert, namely Mr. Paul McCauley. She will withdraw the
psychological expert witness mentioned previously to counsel for
Defendant and will not call an expert witness relative to psychological
injuries.

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The Court hereby sets trial as follows: Trial shall begin on July
24, 2006. The pretrial conference is set for July 17, 2006 at 1:15 p.m.
Jury instructions, joint pretrial order, and any motions limine shall be
due on or before July 10, 2006.

IT IS SO ORDERED.

 

 

` . D IEL BREEN "`
Un ed States District Judge

DATE: °i[/T/O>/

   

UNITE STATES DISTRICT OURT - WESTRENDTISRICOF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 138 in
case 2:02-CV-02483 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

